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 Attorneys for Defendants Joshua Constantin and Stuart McMahen


             UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                               CENTRAL DIVISION

  MILLROCK INVESTMENT FUND 1, LLC,
                                                     STIPULATED MOTION FOR AN
            Plaintiff,                                ORDER SETTING BRIEFING
                                                   DEADLINES FOR PENDING MOTIONS
  v.

  HEALTHCARE SOLUTIONS
  MANAGEMENT GROUP, INC.;
  HEALTHCARE SOLUTIONS HOLDINGS                        Case No. 2:23-cv-000157-RJS-DAO
  INC.; LANDES CAPITAL
  MANAGEMENT, LLC; LANDES AND
  COMPAGNIE TRUST PRIVE KB; JOSHUA
  CONSTANTIN; JUSTIN SMITH; STUART                    Chief District Judge Robert J. Shelby
  MCMAHEN; AND BLACK LABEL
  SERVICES, INC.,                                      Magistrate Judge Daphne A. Oberg

            Defendants.


          Plaintiff Millrock Investment Fund 1, LLC and Defendants Joshua Constantin and Stuart

 McMahen, by and through undersigned counsel, file this Stipulated Motion and hereby jointly

 move the Court to enter the attached Order Setting Briefing Deadlines for Pending Motions

 (“Proposed Order”). The proposed order will extend the deadline for Constantin and McMahen

 to file a reply memo in support of their motion for summary judgment (ECF No. 95) and the



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 deadline for Constantin and McMahen to file a memorandum in opposition to Plaintiff’s Rule

 56(d) Motion to Defer or Deny Summary Judgment (ECF No. 123) until August 30, 2024. Good

 cause exists for entry of the Proposed Order because counsel for Constantin and McMahen have

 multiple hearings and depositions scheduled in other matters during the next two weeks and will

 need additional time to adequately brief the pending motions. The motion is timely because the

 current deadline of August 22, 2024 has not expired.

        A copy of the Proposed Order is attached as Exhibit “A”.



            DATED this 16th day of August, 2024.

                                             CLYDE SNOW & SESSIONS

                                             /s/ Keith M. Woodwell
                                             Keith M. Woodwell
                                             Thomas A. Brady
                                             Nickolas C. Sessions

                                             Attorneys for Defendants Joshua Constantin and
                                             Stuart McMahen


                                             PARR BROWN GEE & LOVELESS

                                             /s/ Bentley J. Tolk*
                                             Terry E. Welch
                                             Bentley J. Tolk
                                             Rodger M. Burge

                                             Attorneys for Plaintiff Millrock Investment Fund 1,
                                             LLC
                                             *Signed by counsel with permission




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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 16th day of August 2024, I caused a true and correct

 copy of the foregoing STIPULATED MOTION FOR AN ORDER SETTING BRIEFING

 DEADLINES FOR PENDING MOTIONS to be sent to all attorneys of record via the court’s

 e-filing system.

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                                                       /s/ Kari J. Peck




                                           {02315025-1 }3
